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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

In Re:

JAMES LESLIE DAVIS,
BARBARA ANNE DAVIS,

Debtors.

)
)
) Case No. 19-11118-R
) Chapter 7

)

)

NOTICE OF ASSET CASE AND INTERIM REPORT

After investigation by Scott P. Kirtley, Trustee of the above-captioned proceeding, a
reasonable likelihood exists that assets are present in this Estate and a distribution to creditors

may result.

The Trustee further requests that the Clerk of the Court issue a Notice of Claims Bar Date

to the current matrix in this proceeding.

Attached is the Individual Estate Property Record and Report (Form 1).

Dated September (4 , 2019.

RIGGS, ABNEY, NEAL,
TURPEN, ORBISON & LEWIS

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Scott P. Kirtley, OBA No. A1388
502 West 6" Street

Tulsa, Oklahoma 74119-1010
(918) 587-3161

Fax (918) 587-9708
skirtley@riggsabney.com

ATTORNEYS FOR TRUSTEE
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